
921 A.2d 809 (2007)
398 Md. 627
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
James L. COFFIN, Respondent.
Misc. Docket AG, No. 70 Sept. Term, 2006.
Court of Appeals of Maryland.
May 2, 2007.

ORDER
Based upon the terms of the Joint Petition for Disbarment and Affidavit filed by James L. Coffin in accordance with Maryland Rule 16-772, and the written recommendation of Bar Counsel, it is this 2nd day of May, 2007
ORDERED, by the Court of Appeals of Maryland, that James L. Coffin, be, and he is hereby, disbarred by consent from the further practice of law in the State of Maryland, and it is further
ORDERED, that the Clerk of this Court shall strike the name of James L. Coffin from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
